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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


 UNITED STATES OF AMERICA,et aL,

                        Plaintiffs,

        V.                                          Civil Action No. I:23cv0108(LMB/JFA)

 GOOGLE LLC,

                        Defendant.



                                              ORDER


        This matter is before the court on plaintiffs motion to seal certain portions of the

 deposition of Luke Lambert taken on August 29, 2023, that were attached as exhibit 4 to

 plaintiffs response to defendant's motions to compel. (Docket no. 421). In the memorandum in

 support of the motion to seal plaintiff requested that the court defer ruling on the motion to seal

 until October 13, 2023, in order to give Omnicom the full 45 days to determine whether any

 portions of that transcript should remain under seal. (Docket no. 423). No additional response

 has been provided by plaintiff or Omnicom concerning the eight pages of deposition testimony

 contained in exhibit 4.


        Given that no specific reasons have been provided to the court for maintaining that

 exhibit under seal and the time for doing so has expired, it is hereby

          ORDERED that the motion to seal is denied and the clerk is requested to unseal docket

 entry number 424.

        Entered this 20th day of October, 2023.                       ./S/.
                                                         John F. Anderson
                                                         United States Magistrate Judge
                                                       John F. Anderson
 Alexandria, Virginia                                  United States Magistrate Judge
